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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA



 SMARTMATIC USA CORP.,
 SMARTMATIC INTERNATIONAL
 HOLDING B.V., and SGO
 CORPORATION LIMITED,

                             Plaintiffs,
                      v.                        Case No. 22-cv-0098-JMB-JFD
 MICHAEL J. LINDELL and MY
 PILLOW, INC.,

                             Defendants.


                     PLAINTIFFS’ MOTION FOR CONTEMPT

      Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited (collectively, “Smartmatic”), by and through their undersigned

counsel, hereby move this Court for an order finding Defendants Michael J. Lindell and

My Pillow, Inc. in contempt for violating this Court’s prior discovery orders. The reasons

for this motion are set forth in Smartmatic’s Memorandum of Law In Support of Plaintiffs’

Motion for Contempt and accompanying exhibits.




Dated: September 23, 2024                    Respectfully submitted,

                                             /s/ Timothy M. Frey
                                             Christopher K. Larus
                                                 Minnesota Bar No. 0226828
                                                 CLarus@robinskaplan.com
                                             William E. Manske
                                                 Minnesota Bar No. 0392348


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                                  WManske@robinskaplan.com
                               Emily J. Tremblay
                                  Minnesota Bar No. 0395003
                                  ETremblay@robinskaplan.com
                               ROBINS KAPLAN LLP
                               800 LaSalle Avenue, Suite 2800
                               Minneapolis, MN 55402
                               Telephone: (612) 349-8500

                               J. Erik Connolly (admitted pro hac vice)
                                   EConnolly@beneschlaw.com
                               Illinois ARDC No. 6269558
                               Nicole E. Wrigley (admitted pro hac vice)
                                   NWrigley@beneschlaw.com
                               Illinois ARDC No. 6278749
                               Timothy M. Frey (admitted pro hac vice)
                                   TFrey@beneschlaw.com
                               Illinois ARDC No. 6303335
                               Julie M. Loftus (admitted pro hac vice)
                                   JLoftus@beneschlaw.com
                               Illinois ARDC No. 6332174
                               BENESCH, FRIEDLANDER, COPLAN &
                               ARONOFF LLP
                               71 South Wacker Drive, Suite 1600
                               Chicago, IL 60606
                               Telephone: (312) 212-4949

                               James R. Bedell (admitted pro hac vice)
                                  JBedell@beneschlaw.com
                               Ohio Bar No. 97921
                               BENESCH, FRIEDLANDER, COPLAN &
                               ARONOFF LLP
                               127 Public Square, Suite 4900
                               Cleveland, OH 44114
                               Telephone: (216) 363-4500

                               Attorneys for the Plaintiffs




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